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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

4-M ENTERPRISES, INC.,                         )
a corporation;                                 )
6-M HOSPITALITY GROUP, INC.,                   )
a corporation;                                 )
ANAOLI LLC,                                    )
a limited liability company;                   )
LM MICHIGAN LLC,                               )
a limited liability company;                   )
LM CATERING LLC,                               )
a limited liability company;                   )
ELATE LLC,                                     )
a limited liability company;                   )
81 WACKER LLC,                                 )
a limited liability company;                   )
5420 LM CLARK LLC,                             )
a limited liability company;                   )
LM RESTAURANT GROUP LLC,                       )
a limited liability company;                   )
                                               )
              PLAINTIFFS,                      )
                                               )
       v.                                      )      CASE NO. 1:21-cv-04368
                                               )
                                               )      Hon. Edmond E. Chang
SOCIETY INSURANCE,                             )
a Mutual Company,                              )
                                               )
              DEFENDANT.                       )

    AMENDED COMPLAINT AT LAW AND FOR DECLARATORY JUDGMENT

       NOW COME Plaintiffs 4-M ENTERPRISES, LLC, 6-M HOSPITALITY GROUP.

INC, ANAOLI LLC, LM MICHIGAN LLC, LM CATERING LLC, ELATE LLC, 81

WACKER LLC, 5420 LM CLARK LLC, and LM RESTAURANT GROUP LLC (individually,

a “Plaintiff,” collectively, “Plaintiffs”), by and through its attorneys Gardiner Koch Weisberg

& Wrona and for their Amended Complaint at Law and for Declaratory Judgment against

Defendant Society Insurance (“Society”) allege:
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                                    INTRODUCTION

       1.     Plaintiffs are owners and operators of restaurants, bars, and taverns in

Chicago and its surrounding suburbs whose ordinary business operations have been

interrupted—through no fault of their own—by the spread of the novel coronavirus

(“COVID-19”). These interruptions present an existential threat to these small, local

businesses that employ hundreds—perhaps thousands—of Illinoisans. To protect their

businesses from situations beyond their control that pose a threat to their livelihoods, such

as COVID-19, Plaintiffs obtained business interruption insurance from Society. In blatant

breach of its voluntarily assumed obligation to insure Plaintiffs in exchange for premium

payments, Society denied Plaintiffs’ COVID-19 business interruption claims. Indeed,

Society denied the claims without any meaningful coverage investigation.

       2.     Plaintiffs bring this action against Society for refusing to abide by the terms

of the commercial Business Owners insurance policy Society drafted and issued to

Plaintiffs, when it rejected Plaintiffs’ valid claims for lost business income because of

“necessary suspensions” of their operations due to COVID-19.

       3.     Society markets itself as offering broad “best-in-class” coverage and

insurance brokers selling policies to potential Society policyholders touted Society as

offering broader coverage than its competitors.

       4.     On March 15, 2020, during the term of the policies Society issued to Plaintiffs

and as COVID-19 spread throughout the State of Illinois, Illinois Governor Pritzker issued

an order interrupting ordinary business operations at all restaurants, bars, and movie

theaters in an effort to address the ongoing COVID-19 pandemic. A few days later, on

March 20, 2020, Governor Pritzker ordered all “non-essential businesses” to close. The

March 15 and March 20 orders are hereinafter collectively referred to as the “Business

Interruption Orders.”

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       5.     As a result of COVID-19, Plaintiffs have been forced to halt their ordinary

operations, resulting in substantial lost revenues and forcing many Plaintiffs to furlough or

lay off the majority of their employees. Although restaurants are able to sell food on a

carry-out or delivery basis, Plaintiffs’ ordinary operations have been severely interrupted,

including by the loss of alcohol and beverage sales that accompany sit-in service. Faced

with the Sophie’s choice COVID-19 presented them, many Plaintiffs determined that it

would be even more of an interruption to their ordinary business—and create even more

losses—to offer such carry-out or delivery options, forcing them to suspend operations

completely.

       6.     Despite Society’s express promise to cover Plaintiffs’ business interruption

losses due to dangerous physical conditions like COVID-19, Society issued blanket denials

to Plaintiffs for any losses related to COVID-19. Indeed, such denials often came within

hours of receiving Plaintiffs’ claims, without first conducting any meaningful coverage

investigation, let alone a “reasonable investigation based on all available information” as

required under Illinois law.

       7.     Indeed, on March 16, 2020—before Plaintiffs had submitted claims—the

Society Insurance CEO circulated a memorandum to its “agency partners,” prospectively

concluding that Society’s policies would likely not provide coverage for losses due to

“alteration[s] in business operations” because of COVID-19 (coronavirus). Email from Rick

Parks dated March 16, 2020 (the “March 16 Email”), attached hereto as Exhibit A.

       8.     To the extent Society has provided any reason to Plaintiffs for its categorical

assertion that Plaintiffs’ losses are not covered, it is based on the assertion that the “actual

or alleged presence of the coronavirus,” which led to the Business Interruption Orders that

prohibited Plaintiffs from engaging in ordinary business operations, does not constitute

“direct physical loss.” See March 22 Letter attached hereto as Exhibit B.

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       9.      Yet, Society’s conclusory statement that the actual or alleged presence of a

substance like COVID-19 does not result in “physical loss or damage” is contrary to the law

in Illinois. Illinois courts have consistently held that the presence of a dangerous substance

in a property constitutes “physical loss or damage.” See, e.g., Bd. of Educ. of Twp. High Sch.

Dist. No. 211 v. Int’l Ins. Co., 720 N.E.2d 622, 625–26 (Ill. Ct. App. 1999), as modified on

denial of reh’g (Dec. 3, 1999).

       10.     Moreover, unlike some commercial property policies available in the market,

the policies Society sold do not exclude pandemic-related losses. Thus, Plaintiffs reasonably

expected that the insurance Society sold them included coverage for physical loss and

business interruption losses infectious diseases like COVID-19 cause.

       11.     If Society had wanted to exclude pandemic-related losses under the Plaintiffs’

policies—as some insurers have attempted to do in other policies—it easily could have

included an express exclusion. Instead, Society waited until after it collected Plaintiffs’

premiums—and after Plaintiffs suffered catastrophic business income losses due to a

pandemic—to try to limit its exposure on the back-end through its erroneous assertion that

the presence of the coronavirus is not “physical loss” and therefore is not a covered cause of

loss under its policies.

       12.     The fact that the insurance industry has created specific exclusions for

pandemic related losses under similar commercial property policies undermines Society’s

assertion that the presence of a virus, like the coronavirus, does not cause “physical loss or

damage” to property. If a virus could never result in a “physical loss” to property, there

would be no need for such an exclusion.

       13.     Indeed, Society marketed its policies as providing broad, “best-in-class”

coverage and collected substantial premiums for years from Plaintiffs based on these

representations.

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          14.   Making matters worse, on March 27, 2020, Society’s CEO sent a memo to all

Society policyholders entitled, “A Message From our CEO on Pandemic Crisis.” Memo from

Rick Parks dated March 27, 2020 (the “March 27 Memo”), attached hereto as Exhibit C. In

the memo, Parks knowingly misrepresented the coverages available under Society policies

by citing pandemic event exclusions that do not exist in policies issued by Society. As Parks

put it:

                Insurance has always identified and excluded coverage for loss events
                that are so large, or are so unpredictable, that they outstrip the
                capacity of the industry to fund losses, or even price the exposure
                accurately. Exclusion for acts of war, nuclear incidents and flood are
                part of insurance policies for these reasons. These are the same
                reasons that coverages for pandemic events are excluded.

(emphasis added).

          15.   There are no such exclusions for pandemic events in Society’s policies.

          16.   Upon information and belief, Society sent this memo in furtherance of a

corporate strategy designed to intentionally mislead Society’s policyholders about the

relevant coverage terms in their policies and discourage policyholders from filing claims for

losses arising from COVID-19.

          17.   The March 27 Email also made clear that Society was not making coverage

determinations based on the facts of the claim and the language Society included in its

policies; rather, Society’s coverage determinations were based on the purported financial

impact on Society if it honored its own policy language. Ex. C (“The insurance industry

combined does not have enough assets to fund these losses and still be able to meet past

and future obligations.”).

          18.   In multiple communications with Society policyholders, Society has stated

the policyholders should look to the government for a bailout to cover its losses, and not




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Society’s plain policy language. Simply put, Society put its own financial interests ahead of

its policyholders’ and taxpayers’ interests, in violation of Illinois law.

       19.     Thus, Society’s wholesale, cursory coverage denials are arbitrary and

unreasonable, and inconsistent with the facts and plain language of the policies it issued.

These denials—based on Parks’ own words—appear to be driven by Society’s desire to limit

its own financial exposure, rather than to undertake—as Society is obligated to do—a full

and fair investigation of the claims and a careful review of the policies they sold to

Plaintiffs in exchange for valuable premiums.

       20.     As a result of Society’s wrongful denial of coverage, Plaintiffs file this action

for a declaratory judgment establishing that they are entitled to receive the benefit of the

insurance coverage they purchased, for indemnification of the business losses they have

sustained, for breach of contract, and for bad faith claims handling under 215 ILCS 5/155.

                                           PARTIES

       21.     Plaintiff 4-M Enterprises, Inc. (“4-M”) is incorporated and has its principal

place of business in Illinois. The members of 4-M, George T. Mannos, Jr. and Thomas G.

Mannos, are both citizens of Illinois. 4-M operates Exchequer Restaurant & Pub in Chicago.

4-M has a Business Owners Policy from Society Insurance, Policy No. BP19047791, which

covered losses for occurrences at Exchequer Restaurant & Pub.

       22.     Plaintiff 6-M Hospitality Group, Inc. (“6-M”) is incorporated and has its

principal place of business in Illinois. The members of 6-M, George T. Mannos, Jr., James

Jacob Mannos, James D. Mannos, Steven G. Mannos, Thomas G. Mannos, and Christopher

T. Mannos, are all citizens of the Illinois. 6-M operates 2Twenty2 Tavern in Chicago. 6-M

has a Business Owners Policy from Society Insurance, Policy No. BP16024716-3.

       23.     Plaintiff Anaoli LLC (“Anaoli”) is an Illinois limited liability company, and

has its principal place of business in Chicago, Illinois. Anaoli’s sole member, Diana Davila

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Boldin, is a resident and citizen of the State of Illinois. Anaoli operates Mi Tocaya Antojería

in Chicago. Anaoli has Business Owners Policies from Society Insurance, Policy Nos.

BP16033332, CA16033334, UM160336163, WC16033336.

       24.      Plaintiff LM Restaurant Group LLC (“LM Restaurant Group”) is an Illinois

limited liability company and has its principal place of business in Chicago, Illinois. The

sole members of LM Restaurant Group, Stephan Outrequin and Nicole Quaisser Outrequin,

are citizens of Illinois. LM Restaurant Group has Business Owners Policy from Society

Insurance, Policy Nos. CAP577626, HOB577420, WC577422. LM Restaurant Group acts as

the sole member for:

             a. LM Michigan LLC (“LM Michigan”), an Illinois limited liability company,

                with its principal place of business in Chicago, Illinois. LM Michigan operates

                Grant Park bistro in Chicago. LM Michigan has Business Owners Policies

                from Society Insurance, Policy Nos. BP19000556, CA19000559, CY19000560,

                UM19000562, WC19000561.

             b. LM Catering LLC (“LM Catering”), an Illinois limited liability company, with

                its principal place of business in Chicago, Illinois. LM Catering has Business

                Owners Policies from Society Insurance, Policy Nos. CAP581135 and

                ROP581134.

             c. Elate LLC (“Elate”), an Illinois limited liability company, with its principal

                place of business in Chicago, Illinois. Elate operated Troquet River North in

                Chicago, until the venue was closed in April 2020 due to COVID-19. Elate

                has Business Owners Policies from Society Insurance, Policy Nos.

                CAP576602, ROP576601, UXL576604, WC576603.

             d. 81 Wacker LLC (“81 Wacker”), an Illinois limited liability company, with its

                principal place of business in Chicago, Illinois. 81 Wacker operates Land and

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                Lake Kitchen in Chicago. 81 Wacker has Business Owners Policies from

                Society Insurance, Policy Nos. BP17001522, CA17001537, CY20002948,

                UM17001543, WC17033775.

             e. 5420 LM Clark LLC, (“5420”), an Illinois limited liability corporation, with its

                principal place of business in Chicago, Illinois. 5420 operated Passerotto in

                Chicago, until the venue was closed in October 2020 due to COVID-19. 5420

                held Business Owners Policies from Society Insurance, Policy Nos.

                BP18006822, CA18006824, CY18012441, WC18006826.

       25.      Defendant Society Insurance (“Society”) is a mutual company engaged in the

business of selling and providing property and casualty insurance to commercial entities,

including restaurants, bars, grocery stores, convenience stores, medical clinics and artisan

contractors, in Illinois and elsewhere. Society is a citizen of Wisconsin and maintains its

principal place of business in Wisconsin.

                                  JURISDICTION & VENUE

       26.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because

there is complete diversity between the parties and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

       27.      This Court has personal jurisdiction over Society pursuant to the Illinois

“long arm statute,” 735 ILCS 5/2-209, because Society has submitted to jurisdiction in this

state by: (a) transacting business in Illinois; (b) contracting to insure a person, property or

risk located within Illinois at the time of contracting; and (c) making a contract

substantially connected with Illinois. See 735 ILCS 5/2-209(1), (4), (7). In addition, Society

exercises substantial, systematic and continuous contacts with Illinois by doing business in

Illinois, serving insureds in Illinois, and seeking additional business in Illinois.



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        28.    This Court has jurisdiction to grant declaratory relief under 28 U.S.C. § 2201

because an actual controversy exists between the parties as to their respective rights and

obligations under the Policy with respect to the loss of business arising from the civil

authority event detailed below.

        29.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omission giving rise to Plaintiffs’ claims occurred within

the Northern District of Illinois.

                                  FACTUAL ALLEGATIONS

               A.      The Society Insurance Policies

        30.    In exchange for substantial premiums, Society sold commercial property

insurance policies promising to indemnify Plaintiffs for losses resulting from occurrences,

including the “necessary suspension” of business operations at any insured location caused

by a government order, during the relevant time period (each a “Policy” and collectively, the

“Policies”).

        31.    Each Policy was issued to Plaintiffs at their principal places of business in

Illinois.

        32.    The relevant provisions setting forth the scope of coverage for business

interruption losses are the same under each Policy. An example of a Policy is attached

hereto as Exhibit D.

        33.    The Policies are an “all risk” policy that provides broad coverage for losses

caused by any cause, unless expressly excluded.

        34.    The Policy does not purport to exclude losses from infectious diseases, viruses

or pandemics. Thus, the all-risk Policies that Plaintiffs purchased cover COVID-19-caused

business income losses.



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       35.    In addition to property damage losses, Society also agreed to “pay for the

actual loss of Business Income” sustained by Plaintiffs “due to the necessary suspension” of

Plaintiffs’ operations during the period of business interruption caused by “by direct

physical loss of or damage to covered property” at the insured’s premises.

       36.    With respect to business interruption losses, “suspension” means: (1) “the

partial slowdown or complete cessation of your business activities”; or (2) “that a part or all

of the described premises is rendered untenantable if coverage for Business Income applies.

       37.    “Business Income” is defined in relevant part under the Policies as “Net

Income (Net Profit or Loss before income taxes) that would have been earned or incurred if

no physical loss or damage had occurred” plus “continuing necessary operating expenses

incurred.”

              B.     The Plaintiffs’ Losses Due to the Coronavirus Pandemic

       38.    On March 11, 2020, the World Health Organization declared that the

emerging threat from the novel coronavirus—otherwise known as COVID-19—constituted a

global pandemic.

       39.    Emerging research on the virus and recent reports from the CDC indicate

that the COVID-19 strains physically infect and can stay alive on surfaces for at least 17

days, a characteristic that renders property exposed to the contagion potentially unsafe and

dangerous.

       40.    Infected individuals expel respiratory droplets containing COVID-19 that can

range in size with some being very fine droplets or aerosol particles that contain the

infectious virus. These droplets can linger in the air, attach to larger exhaled droplets or

exposed mucous membranes, or attach to surfaces.




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       41.    The virus, according to a recent informational release from the CDC, actually

physically transforms surfaces it touches into fomites, causing some degree of physical

alteration to the surfaces.

       42.    The virus can also transmit and linger in a building’s filtration and HVAC

system, causing a physical alteration to the HVAC system, and ambient air which can lead

to coronavirus transmission from person to person.

       43.    Plaintiffs all had multiple employees test positive for coronavirus throughout

the time period of the pandemic and when coverage was active.

       44.    Other research indicates that the virus may linger on surfaces for up to four

weeks in low temperatures.

       45.    Enclosed spaces with inadequate ventilation or air handling within which the

concentration of exhaled respiratory fluids, especially very fine droplets and aerosol

particles, can build-up in the air space. Even with the best attempts these fine droplets and

aerosol particles can linger in the air space, physically altering the air present in an

enclosed space, such as a restaurant.

       46.    In response to the pandemic, and the spread of the coronavirus in Chicago

and throughout Illinois, Illinois Governor Pritzker issued Executive Order 2020-07 on

March 15, 2020 requiring that all bars, restaurants, and movie theaters close to the public

beginning on March 16, 2020 and continuing through March 30, 2020. This order was

extended—in various forms—though July 26, 2021. See Executive Order 2021-14.

       47.    The continuous presence of COVID-19 on or around Plaintiffs’ premises has

created a dangerous condition and rendered their premises unsafe and unfit for their

intended use and caused physical property damage or loss under the Policies. As described

above, the physical surfaces were altered by the presence of COVID-19 into virus-

transmitting vectors.

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         48.      As a result of COVID-19, Plaintiffs have each suffered substantial Business

Income losses. The covered losses the LM entities incurred and are owed under the Policies

are increasing every day, but are expected to exceed Four Million Dollars ($4,000,000.00).

The covered losses that the 6-M Hospitality group entities incurred and are owed under the

Policies are increasing every day, but are expected to exceed Two Million Dollars

($2,000,000.00). The covered losses that the Anaoli entity incurred and are owed under the

Policies are increasing every day, but are expected to exceed One Million Dollars

($1,000,000.00). As a result of these catastrophic losses, many of the Plaintiffs have been

forced to furlough their workers and may have to close some or all of their locations

permanently.

         49.      Throughout the period of coverage, the Plaintiffs use of their full restaurant

space was restricted by Government Order, and are still restricted due to the COVID-19

virus.

         50.      Each of the Plaintiffs has substantially altered their business space to

accommodate the changes that COVID-19 requires, which to reiterate are covered losses,

including modifying their outside structures to be compatible for eating, providing plastic

dividers, etc.,


         51.      Following the March 15, 2020 Business Interruption Order, Plaintiffs each

submitted a claim to Society requesting coverage for their business interruption losses

promised under the Policies.

         52.      Society has denied each of the Business Interruption Claims in writing.

                           COUNT I: DECLARATORY JUDGMENT

         53.      Plaintiffs incorporate by reference, as if fully set forth herein, the facts set

forth in Paragraphs 1–52 above.


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       54.      Each Policy is an insurance contract under which Society was paid premiums

in exchange for its promise to pay Plaintiffs’ losses for claims covered by the Policy, such as

business losses incurred as a result of the government orders forcing the interruption of

their ordinary business operations.

       55.      Plaintiffs have complied with all applicable provisions of the Policies,

including payment of the premiums in exchange for coverage under the Policies.

       56.      Society has arbitrarily and without justification refused to reimburse

Plaintiffs for any losses incurred by Plaintiffs in connection with the covered business

losses related to novel coronavirus and the necessary interruption of their businesses

stemming from the COVID-19 pandemic.

       57.      An actual case or controversy exists regarding Plaintiffs’ rights and Society’s

obligations under the Policies to reimburse Plaintiffs for the full amount of losses Plaintiffs

incurred in connection with Business Interruption Orders and the necessary interruption of

their businesses stemming from the COVID-19 pandemic.

       58.      Pursuant to 28 U.S.C. § 2201, Plaintiffs seek a declaratory judgment from

this Court declaring the following:

             (a) Plaintiffs’ losses incurred in connection with the novel coronavirus and the
                 necessary interruption of their businesses stemming from the COVID-19
                 pandemic are insured losses under the Policies;

             (b) Society has waived any right it may have had to assert defenses to coverage
                 or otherwise seek to bar or limit coverage for Plaintiffs’ losses by issuing
                 blanket coverage denials without conducting a claim investigation as
                 required under Illinois law; and

             (c) Society is obligated to pay Plaintiffs for the full amount of the losses incurred
                 and to be incurred in connection with the covered business losses related to
                 the necessary interruption of their businesses stemming from the COVID-19
                 pandemic.




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                           COUNT II: BREACH OF CONTRACT

       59.      Plaintiffs incorporate by reference, as if fully set forth herein, the facts set

forth in Paragraphs 1–58 above.

       60.      Each Policy is an insurance contract under which Society was paid premiums

in exchange for its promise to pay Plaintiffs’ losses for claims covered by the Policy, such as

business losses incurred as a result of the necessary interruption of their businesses

stemming from the COVID-19 pandemic.

       61.      Plaintiffs have complied with all applicable provisions of the Policies,

including payment of the premiums in exchange for coverage under the Policies, and yet

Society has abrogated its insurance coverage obligations pursuant to the Policies’ clear and

unambiguous terms.

       62.      By denying coverage for any business losses incurred by Plaintiffs in

connection with the novel coronavirus and the COVID-19 pandemic, Society has breached

its coverage obligations under the Policies.

       63.      As a result of Society’s breaches of the Policies, Plaintiffs have sustained

substantial damages for which Society is liable, in an amount to be established at trial.

                     COUNT III: STATUTORY PENALTY FOR
             BAD FAITH DENIAL OF INSURANCE UNDER 215 ILCS 5/155

       64.      Plaintiffs incorporate by reference, as if fully set forth herein, the facts set

forth in Paragraphs 1–63 above.

       65.      Upon receipt of the Business Interruption Order Claims, Society immediately

denied the claims without conducting any investigation, let alone a “reasonable

investigation based on all available information” as required under Illinois law. See 215

ILCS 5/154.6.




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        66.      To discourage policyholders from even filing claims, Society, through its Chief

Executive Officer Rick Parks, misled policyholders by citing a pandemic exclusion that does

not exist in policies issued by Society in the March 27 Memo issued to all policyholders, in

blatant violation of Illinois law that prohibits insurers from knowingly misrepresenting to

their insureds relevant facts or policy provisions contained in policies they issued. See id.

        67.      Society’s denials were vexatious and unreasonable.

        68.      Society’s denials constitute “improper claims practices” under Illinois law—

namely Society’s (1) refusals to pay Plaintiffs’ claims without conducting reasonable

investigations based on all available information and (2) failure to provide reasonable and

accurate explanations of the bases in its denials. See 215 ILCS 5/154.6 (h), (n).

        69.      Therefore, pursuant to 215 ILCS 5/155, Plaintiffs request that, in addition to

entering a judgment in favor of Plaintiffs and against Society for the amount owed under

the Policies at the time of judgment, the Court enter a judgment in favor of Plaintiffs and

against Society for an amount equal to the greater of (1) 60% of the amount which the trier

of fact finds that Plaintiffs are entitled to recover under the Policies, exclusive of costs; and

(2) $60,000 per Plaintiff. See 215 ILCS 5/155.

        70.      Plaintiffs further request that the Court enter a judgment in favor of

Plaintiffs and against Society in an amount equal to the attorneys’ fees and costs incurred

by Plaintiffs for the prosecution of this coverage action against Society, which amount will

be proved at or after trial, pursuant to 215 ILCS 5/155.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully pray that the Court:

   A.         Enter declaratory judgment on Count II of the Complaint in favor of Plaintiffs
              and against Society, declaring as follows:




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          i.   Plaintiffs’ losses incurred in connection with the novel coronavirus and the
               necessary interruption of their businesses stemming from the COVID-19
               pandemic are insured losses under the Policies;

         ii.   Society has waived any right it may have had to assert defenses to coverage
               or otherwise seek to bar or limit coverage for Plaintiffs’ losses by issuing
               blanket coverage denials without conducting a claim investigation as
               required under Illinois law; and

        iii.   Society is obligated to pay Plaintiffs for the full amount of the losses incurred
               and to be incurred in connection with the covered business losses related to
               the necessary interruption of their businesses stemming from the COVID-19
               pandemic.

   B.      Enter judgment on Count II of the Complaint in favor of Plaintiffs and against
           Society and award damages for breach of contract in an amount to be proven at
           trial;

   C.      Enter judgment on Count III of the Complaint in favor of Plaintiffs and against
           Society in the amount equal to the greater of (1) 60% of the amount which the
           trier of fact finds that Plaintiffs are entitled to recover under the Policies,
           exclusive of costs; and (2) $60,000 per Plaintiff;

   D.      Enter judgment in favor of Plaintiffs and against Society in an amount equal to
           all attorneys’ fees and related costs incurred for the prosecution of this coverage
           action against Society, pursuant to 215 ILCS 5/155, which amount to be
           established at the conclusion of this action;

   E.      Award to Plaintiffs and against Society prejudgment interest, to be calculated
           according to law, to compensate Plaintiffs for the loss of use of funds caused by
           Society’s wrongful refusal to pay Plaintiffs for the full amount in costs incurred
           in connection with the Business Interruption Claims.

   F.      Award Plaintiffs such other, further, and additional relief as this Court deems
           just and appropriate.

                                       JURY DEMAND

        Plaintiffs hereby demand trial by jury on all issues so triable.

Dated this 10th day of November, 2021.


                                            GARDINER KOCH WEISBGER & WRONA
                                            Attorneys for Plaintiffs




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                                     /s/ Thomas G. Gardiner
                                     Thomas G. Gardiner


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